Case 1:24-cr-00270-LDH          Document 11       Filed 07/10/24     Page 1 of 2 PageID #: 20




HM/KTF:BW/DIB
F. #2024R00288

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                 INFORMATION

       - against -                                       Cr. No. 24-270 (LDH) (JRC)i
                                                         (T. 18, U.S.C., §§ 981(a)(1)(C), 1349 and
JONTAY PORTER,                                            3551 et seq.; T. 21, U.S.C., § 853(p);
                                                          T. 28, U.S.C., § 2461(c))
                         Defendant.

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THE UNITED STATES ATTORNEY CHARGES:

                                 WIRE FRAUD CONSPIRACY

                1.     In or about and between January 2024 and March 2024, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

JONTAY PORTER, together with others, did knowingly and intentionally conspire to devise a

scheme and artifice to defraud Sports Betting Companies 1 and 2, entities the identities of which

are known to the United States Attorney, and to obtain money and property from Sports Betting

Companies 1 and 2 by means of one or more materially false and fraudulent pretenses,

representations and promises, and for the purpose of executing such scheme and artifice, to

transmit and cause to be transmitted by means of wire communication in interstate and foreign

commerce writings, signs, signals, pictures and sounds, contrary to Title 18, United States Code,

Section 1343.

                (Title 18, United States Code, Sections 1349 and 3551 et seq.)
Case 1:24-cr-00270-LDH           Document 11        Filed 07/10/24      Page 2 of 2 PageID #: 21




                             CRIMINAL FORFEITURE ALLEGATION

                2.     The United States hereby gives notice to the defendant that, upon his

conviction of the offense charged herein, the government will seek forfeiture in accordance with

Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section

2461(c), which require any person convicted of such offense to forfeit any property, real or

personal, constituting, or derived from, proceeds obtained directly or indirectly as a result of

such offense.

                3.     If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;

                       (c)     has been placed beyond the jurisdiction of the court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be divided

without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the defendant up to the value of the forfeitable property

described in this forfeiture allegation.

                (Title 18, United States Code, Section 981(a)(1)(C); Title 21, United States Code,

Section 853(p); Title 28, United States Code, Section 2461(c))



                                                     __________________________________
                                                     BREON PEACE
                                                     UNITED STATES ATTORNEY
                                                     EASTERN DISTRICT OF NEW YORK
